         Case 1:17-cv-02469-BAH Document 25 Filed 09/04/18 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Africa Growth Corporation                         )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                ) Case No: 17-cv-2469
                                                  )
Republic of Angola, et al.                        )
                                                  )
      Defendants.                                 )
_____________________________________             )


                             RESPONSE TO AUGUST 15 ORDER

       On August 15, 2018, this Court requested the plaintiff, Africa Growth Corporation

(“AFGC”) submit a filing regarding oral hearing on AFGC’s motion for final default judgment

against the defendants, providing “(1) a list of proposed witnesses, (2) an estimate of the length

and time such hearing will require, and (3) an explanation of the matters each witness testimony

will address in oral testimony that are not already addressed in the affidavits submitted by the

plaintiff.” (August 15, 2018 minute order). In accordance with the Court’s request, AFGC

submits the information below in reply.

       AFGC and its counsel understand the Court’s time and resources are valuable and would

like to seek the Court’s guidance on the matters the Court would like to address at the hearing.

From AFGC’s perspective, there are only two issues that might require the presentation of

evidence: (1) subject matter jurisdiction and (2) damages, each of which AFGC will address in

turn. AFGC is prepared to present argument, provide witnesses, elicit testimony, and otherwise

submit evidence as appropriate to support any issues that the Court deems necessary or useful

regarding these two general areas. To the extent that the Court deems only one of these
            Case 1:17-cv-02469-BAH Document 25 Filed 09/04/18 Page 2 of 5



categories necessary or useful, AFGC will provide evidence, witnesses, and elicit testimony as

necessary and as required by the Court.

I.     WITNESSES

       A.       Subject Matter Jurisdiction

       AFGC is mindful that under the Foreign Sovereign Immunities Act (“FSIA”), “[n]o

judgment by default shall be entered by a court of the United States or of a State against a

foreign state, a political subdivision thereof, or an agency or instrumentality of a foreign state,

unless the claimant establishes his claim or right to relief by evidence satisfactory to the court.”

28 U.S.C. § 1608(e). In light of this heightened requirement under the FSIA for the granting of a

default judgment, AFGC is prepared to provide evidence and testimony on the issue of subject

matter jurisdiction. In the interests of judicial economy and efficiency, if no such testimony and

evidence is required, AFGC will proceed to present testimony and evidence solely on the issue of

damages.

       The witnesses that AFGC proposes to provide at oral hearing, and the matters the

witnesses are expected to address, are as follows:

       1.       Brenton Kuss, Chief Executive Officer (“CEO”) and interim Chief Financial

Officer (“CFO”) of AFGC. In support of the motion for final default judgment, Mr. Kuss

provided a declaration primarily regarding factual background related to jurisdiction and

liability. To the extent necessary, Mr. Kuss also may provide supplemental factual testimony

concerning additional and ongoing and increased difficulties that AFGC has faced since the

filing of the motion for final default judgment, both in Angola, where AFGC remains without

access to its investments despite a clear legal right, and in the United States, where it has

continued obligations with respect to its shareholders and before the relevant regulatory



                                                 2
            Case 1:17-cv-02469-BAH Document 25 Filed 09/04/18 Page 3 of 5



authorities. In addition, Mr. Kuss will provide factual testimony in support of the relevant

jurisdictional nexus requirements under the FSIA, 28 U.S.C. §§ 1605(a)(2) and 1605(a)(3).

       2.       Legal Expert. AFGC has consulted with legal scholars concerning the bases for

jurisdiction under the FSIA and may call upon a scholar to provide testimony from a legal

standpoint concerning AFGC’s satisfaction of the relevant jurisdictional nexus requirements

under the FSIA, 28 U.S.C. §§ 1605(a)(2) and 1605(a)(3).

       In the event the Court is satisfied that the jurisdictional requirements have been met,

AFGC may proceed directly to the issue of damages.

       B.       Damages

       Regarding damages, AFGC will call on the following witnesses to testify:

       1.       Brenton Kuss, CEO and interim CFO of AFGC. In support of the motion for final

default judgment, Mr. Kuss provided a declaration primarily regarding factual background

related to the defendants’ liability, leaving only the issue of damages. At the oral hearing, Mr.

Kuss may provide additional factual testimony concerning damages sustained by AFGC, namely

the financial impact caused upon AFGC as a result of the wrongful taking of AFGC’s real

property, the rental incomes derived from the real property, and access to AFGC’s Angolan

subsidiaries and the bank accounts belonging to the subsidiaries.

       2.       Economic Damages Expert: G. Grant Lyon, President and Founder of Atera

Capital, LLC. Mr. Lyon possesses extensive experience providing expert testimony in federal

district and bankruptcy courts on damages, valuation, and other financial issues. In this matter,

Mr. Lyon will serve as an expert witness with respect to economic damages sustained by AFGC

and will provide further testimony concerning damages arising out of the expropriation of the

AFGC assets, including, without limitation, the quantum of damages sustained and the method

for calculating such damages, the applicable standard for compensation of such damages,
                                                3
          Case 1:17-cv-02469-BAH Document 25 Filed 09/04/18 Page 4 of 5



valuation methods, and matters concerning calculation of damages according to the date and time

of the expropriation. Mr. Lyon also may provide an expert report in advance of oral hearing. For

ease of reference Mr. Lyon’s curriculum vitae is attached hereto as Exhibit A.

II.    LENGTH AND TIME OF EVIDENTIARY HEARING

       With respect to an estimate of the length and time an oral hearing would require, the total

number of hours for oral hearing may depend upon the matters that the Court deems pertinent

and wishes to hear.

       For issues related to subject matter jurisdiction, should the Court deem such oral

argument and testimony necessary or useful, AFGC estimates a total of three hours. For issues

related to liability—to the extent the liability issues differ from those presented under

jurisdiction—AFGC estimates two hours. Lastly, damages-related matters would require more

time, since it would be necessary to supplement the record with additional evidence of damages

and present two witnesses, one for factual support and one expert. Accordingly, AFGC estimates

a total of four to five hours on the issue of damages.

       AFGC and its counsel remain at the Court’s disposition should the Court have additional

questions it would like AFGC’s counsel to address, or should the Court wish to hear directly

from any of the individuals whose declarations were submitted in support of the motion for final

default judgment. Likewise, in the event the Court requires any further supporting documentation

or affidavits prior to an oral hearing, AFGC will be pleased to provide any such submissions.

AFGC remains generally available for a hearing subject to the Court’s availability.




                                                 4
        Case 1:17-cv-02469-BAH Document 25 Filed 09/04/18 Page 5 of 5



Dated: September 4, 2018           Respectfully submitted,

                                   By: /s/ Harold E. Patricoff
                                   Harold E. Patricoff (Pro Hac Vice)
                                   Florida Bar No. 508357
                                   hpatricoff@shutts.com
                                   Kristin Drecktrah Paz (Pro Hac Vice)
                                   Florida Bar No. 91026
                                   kpaz@shutts.com
                                   SHUTTS & BOWEN LLP
                                   200 S. Biscayne Boulevard, Suite 4100
                                   Miami, Florida 33131
                                   Tel.: (305) 358-6300
                                   Fax: (305) 381-9982

                                   Anthony F. Cavanaugh
                                   D.C. Bar No: 482760
                                   LINOWES & BLOCHER LLP
                                   7200 Wisconsin Avenue, Suite 800
                                   Bethesda, MD 20814
                                   Tel.: (301) 961-5191
                                    acavanaugh@linowes-law.com

                                   Attorneys for Plaintiff, Africa Growth Corporation




                                      5
